 Case 2:18-cv-05429-GW-AGR Document 1 Filed 06/18/18 Page 1 of 9 Page ID #:1

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 1 Etta Hindra                                  PLEASE BE ADVISED TI~I~ la y~i~                                 ~T:~ ~
 2 P.O. Box 641083                              IS BEING ELECTRONICALLY SERVE
   Los Angeles, CA 90064                                             .~ .       ~                                  ~.
 3 Phone:(310)497-7756                                                                               y ~:~ ,:      .

 4 Email: ehindra@yahoo.com
   Plaintiffin Pro Per
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 6
 7
 8
                     UNITED STATES DISTRICT COURT
 9
                   CENTRAL DISTRICT OF CALIFORNIA
10
11
     Etta Hindra                                               Case No.:
12                                                             Assigned to the Honorable George ~. ~u
                         Plaintiffs,
13                v.                                           COMPLAINT FOR:
14   DEUTSCHE BANK National Trust                              1. EMERGENCY MOTION TO
      Morgan Stanley Mortgage Loan                                STOP THE TRAILER'S LIEN
15
      Trust, MSM2005-06AR,                                        SALE 6/20/2018
16                                                             2. Securitized Loan: Mortgage
           DOES 1 through 10, Inclusive,                          Fraud:
17
                                                                  Lack ofStanding to Forclose
18                            Defendants,                         Invalid/Void/Ineffective Assignment
                                                                  Cancellation ofInstruments
19                                                                Conversion
                                                                  Accounting
20                                                             3. Wrongful Forclosure in Violation
21                                                                Of the Automatic Stay 11 vsc§362
                                                                [Mr. David Lally, Esq.;Mr. Bounlet LouvanJ
                                                                 QLS was not Qualified as A Forclosure Trustee
                                                                 Fraud on the BK Court [FRCP60(d)(3)J
                                                               4. Wrongful Unlawful Detainer:
                                                                   Wrongful EVICTION; Defamation to EH
                                                               5. Fraud on the Property Tax
                                                                  Unjust Enrichment
                                                .. ..:.~
                                                               6. Fraud Note MSM2006-06AR
                                                                  DBNTC use Fraud Note in Plaintiff's Opposition
                         -~.~."
                                                                  to the Lift Automatic Stay
                                                               7. TRO/Injunctive Relief
28                                                             8. TILA Rescission X1640 (a~ ; ~¢1640(e),
                                                                    X1635 And damages 01641)
                    C4~i~~<, US Uistr' C~.rt`
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 Case 2:18-cv-05429-GW-AGR Document 1 Filed 06/18/18 Page 2 of 9 Page ID #:2




 1                                               9. Quiet Title (Zgusc; ~'1346(~; 2409a;
                                                    Lis Pendens
 2                                               10. No Access to the house
 3                                                    10 years in the Loam Modification (2009-2018)
                                                      No Access to the house on
 4                                                    5/26/2017; 10/26/2017
 5                                               11. Declaratory Relief
                                                 12. SUMMARY JUDGMENT
 6
 7                                               JURY TRIAL DEMANDED

 8                                               Hearing Date: ../../2018
 9                                               Time: 8:30 a.m.
                                                 Courtroom: 9D
10
                                                 Location: 350 W. 1 St Street, LA,CA
11
12
13
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17
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19
20
                                     I. JURISDICTION
21
     1. This court has jurisdiction under 28 U.S.C. §1332 because there is diversity of
22
     citizenship and an amount in controversy greater than $75,000.-
23
24
                                       II. VENUE
25
     2. Venue is proper pursuant to 28 U.S.C. §1391 because the property at issue in
26   this complaint is located in this district.
27
28
                                   III. THE PARTIES


                                             E
 Case 2:18-cv-05429-GW-AGR Document 1 Filed 06/18/18 Page 3 of 9 Page ID #:3




 1   3.    Plaintiffs name is Etta Hindra, Plaintiff resides at 2712 Westwood Blvd.,
 2   Los Angeles, CA 90064 until 10/11/2016.
 3
 4   4.    Defendant 1: Deutsche Bank National Trust Morgan Stanley Loan Trust
 5   MSM 2005-06AR, as the Trustee for securitized trust Mortgage Pass-Through
 6   Certificates Series 2005-06AR Trust (hereinafter "Deutsche Bank").
 7
 8   5.    Defendant 2: Wells Fargo Bank N.A., a California Corporation,
 9   Defendant WELLS FARGO BANK N.A., is the Master service ofthe Mortgage
10   secured by the property subject ofthis action, as or fully described herein.
11
12   6.    Defendant 3: PNC Bank/PNC Mortgage Servicer (hereinafter
13 "DefendantPNC MORTGAGE SERVICER")is the purported servicer ofthe
14   Loan; WilliamDemchack; President Chastin O'Connor; The address: PNC
15   Bank, NA; The Tower at PNC Plaza; 300 Fifth Avenue; Pittsburgh, PA 15222;
16 (888)762-2265
17
18   7.    Defendant 4: QUALITY LOAN SERVICE CORPORATION (hereinafter
19 "Defendant QUALITY")is the Foreclosure Sale Company with the address:
20
21   8.    Defendant 5: McCARTHY and HOLTHUS Law Firm. Defendant
22   McCARTHY and HOLTHUS are the Law firm Litigation against the subject
23   property.
24
25   9.    Defendant 6: Alldredge Pite LLP Law Firm., Defendant Alldredge Pite
26   LLP are the Law firm Litigation against the Nevada property.
27
28   10.   Defendant 7: MOLFE & WYMAN LLP Law Firm, Defendant Wolfe &



                                              3
  Case 2:18-cv-05429-GW-AGR Document 1 Filed 06/18/18 Page 4 of 9 Page ID #:4




 1 ~ Wyman are the Law Firm Litigation against the subject property.
 2
 3   1 1. Defendant 8: Coldwell Banker Residential Mortgage Broker
 4   Beverly Hills North; Robert Foster, the President, Mr. Loren Judd, the
 5   Manager, Mr. Danny Harvey, the Broker, Mrs. Joyce Essex Harvey,
 6   the Agent.
 7
 8 ~ 12. Defendant 9: Silver Towing
 9
10   FACTS:
11   1 1. Because Plaintiff is acting pro se, "pleadings are held to a less stringent

12   standard than pleadings drafted by attorneys and will, therefore, be liberally

13   construed." Tannenbaum v. United States, 148 F.3d 1262, 1263(1 lth Cir.
14   1998).
15
16   12. The Plaintiff primary residence which is the subject ofthe complaint stated
17   as Exhibit "A"
18         Lots)9 of Tract No.12385. In the City of Los Angeles, County of Los
19         Angeles, State of California, as per map recorded in book 261 Pages)28
           to 30 inclusive of Maps, in the office ofthe County Recorder of said
20
           County.
21
22   13. Plaintiff Etta Hindra brings this action against PNC Mortgage Servicer,
23   McCarthy & Holthus and all Defendants, and DOES 1 through 10,(collectively
24 "Defendants") to prevent the wrongful forclosure and sale ofthe Plaintiffs
25 'I~ Residence 2712 Westwood Blvd., Los Angeles, CA 90064 to:
26
           1. Give effective Notice to Rescind and Cancel;
27         2. Enforce Rescission;
           3. Reimburse all fees, charges, and costs paid in violation ofthe Truth in
28
                 Lending Act;


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 Case 2:18-cv-05429-GW-AGR Document 1 Filed 06/18/18 Page 5 of 9 Page ID #:5




 1         4. Violation ofRESPA and FDCPA;
           5. Obtain a reasonable attorney fee when Plaintiff hired an attorney;
 2
 3   14. Plaintiff seeks declaratory and injunctive relief to further restrain
 4 I~ Defendants under Cal. Business and Professions Code §1700, et seq. referred to
 5   as the Unfair Competition Law ("UCL")under California Statutes, common law
 6   fraud, misrepresentation and deceit, against Defendants herein. All such
 7   California State Law claims are properly asserted under this Court's pendant or
 8   supplemental jurisdiction.
 9
10
     15. The Defendants have failed to show standing to pursue forclosure in this
11
12
     matter, despite repeated demand from the Plaintiff.

13
     16. The Defendants have violated multiple federal and state laws and a consent
14
     decree in pursuing this illegal action.
15
16
     17. The Defendants are proper parties to be sued for claims when Plaintiff is in
17
     an affirmative or defensive position asserting a rescission under TILA, Reg. Z,
18
     and asserting other statutory relief under the FDCPA,the California UCL,
19
     common law fraud, misrepresentation or deceit, etc., and for any claims in
20
     recoupment and set-off against all Defendants.
21
22
      1 S. Plaintiff request that the Court enjoin the Defendants from forclosing on her
23
     residence until that lawful standing ofthe Defendants are shown.
24
25
                                  Cause of Action #1
26                             Failure to Proof Standing
27   19. The Trustee Objection Item No.17 stated In the Bankruptcy Rule and
28   Procedure FBRP 3001 requires the Creditor EVIDENCE OF OF PERFECTION



                                               5
 Case 2:18-cv-05429-GW-AGR Document 1 Filed 06/18/18 Page 6 of 9 Page ID #:6




 l   OF SECURITY INTEREST. The Holder in Due Course at the time filing the

 2   Claim/NOD (Notice of Default) on 2/10/2016 not after the Confirmation Hearing

 3   3/24/2016. Proof of Claims Deadline 5/19/2016 to proofthat the PNC Mortgage
 4   Servicer and the Deutsche Bank Morgan Stanley Mortgage Loan Trust possessed
 5 'I ~ the lastest Note Holder in Due Course: The Defendants PNC Mortgage/Deutsche
 6   Bank have not done this. The Homeowner- Plaintiff Etta Hindra had never seen
 7   the Proof until today 8/16/16.
 8
     Plaintiff-Homeowner Etta Hindra demand a Fair Treatment:
 9
     1. The Morgan Stanley Trusts were created under NY Trust Law and had very
10
           specific acceptance and transfer requirements for the mortgage notes.
11
12
     Ifthe note is not validly held by the party who is forclosing, The forclosure
13
     should not happened permanently.
14
15   Corporation Mortgage Pass-Through Certificates, Series 2006-2 vs.
16   Antonio Ibanez (Massachusetts Supreme Court Case#08-384283(KCL))
     Page 8:
17
     "To forclose on a mortgage securing property in the Commonwealth, one must be
18   the holder ofthe mortgage. To be the holder ofthe mortgage, one must be the
19   original mortgagee or be the assignee under a valid assignment ofthe mortgage.
     It is not sufficient to possess the mortgagor's promissory note. The Land court
20   correctly held that the Plaintiffs, U.S.Bank and Wells Fargo were not holders of
21   the Ibanez and LaRace mortgages at the time ofthe foreclosure because they
     were not assignees of valid assignments ofthe rriortgages. Without valid
22
     assignments, the Plaintiffs lacked the legal authority to foreclose the mortgages.
23   This, without more, is sufficient grounds on which to invalidate the foreclosures
     and the Land Court was correct to do so."
24
25                                                      Date: 6/ / 018
26                                                           ~~
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27
                                                        ~t`a Hindra
28



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Case 2:18-cv-05429-GW-AGR Document 1 Filed 06/18/18 Page 7 of 9 Page ID #:7




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  Case 2:18-cv-05429-GW-AGR Document 1 Filed 06/18/18 Page 9 of 9 Page ID #:9




 1                            PROOF OF SERVICE BY MAIL

 2
 3   I, Rikianto Hindra, declare as follows:

 4            My Mailing business address is P.O. Box 641083, Los Angeles, CA

 5   90064, which is located in the county where the mailing described below took

 6   place.

 7            On 6/18/2018, I served the documents) described as:

 8       1. EMERGENCY MOTION TO STOP THE TRAILER AUCTION LIEN

 9            SALE 6/20/2018

10      2. COMPLAINT

11 [By fax/mail/email] on all interested parties in this action and by placing a true
12 and correct copy thereof in a sealed envelope, with first-class postage prepaid
13   thereon, and deposited said envelope in the United States mail at or in Los

14   Angeles, California, addressed to:

15                  Messrs. S.B. Wolfe, K. A. Beall, J.S. Kaufman, Esq.
16                  WOLFE & WYMAN LLP
                    2301 Dupont Dr., #300; Irvine, CA 92612-7531
17
                    Phone:(949)475-9200; Fax:(949)475-9203
18                  Email: kabeall cr,wolfewyman.com
19
20            I declare under penalty of perjury that the foregoing is true and correct.

21   Executed on 6/18/2018 at Los Angeles, California.

22
23                                                       D to: 6/18/2018

24
25                                                                  l~l~
26                                                       Rikianto Hindra

27
28



                                        Proof of Service by Mail
